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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



       v.                                            Criminal Action No. 21-175 (TJK)

ETHAN NORDEAN et al.,

                Defendants.


                                            ORDER

       Before the Court is Nordean’s motion to sever the two newly joined defendants in this

case—Enrique Tarrio and Dominic Pezzola. 1 ECF No. 321; ECF No. 320. “Severance is a proper

remedy only when the defendant has met the ‘heavy burden’ of showing that joinder would violate

his constitutional rights. The defendant must show that the threatened prejudice is of a type that

requires severance, and no less intrusive alternative.” United States v. Gray, 173 F. Supp. 2d 1, 7

(D.D.C. 2001) (cleaned up). Nordean makes two arguments for why severance is required, but at

the moment, both come up short.

       First, Nordean argues that the Court should sever Tarrio and Pezzola because their inclu-

sion “prejudices Nordean’s (and the three other defendants’) Sixth Amendment right to a speedy

trial.” ECF No. 320 at 9. The Court disagrees. To be sure, courts have said that “[s]everance is

justified when it is necessary to safeguard a defendant’s speedy trial rights.” United States v.

Nothing, No. 5:20-cr-50065-03 (KES), 2021 WL 3419368, at *6 (D.S.D. Aug. 5, 2021) (citing




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  Rehl adopted and incorporated by reference Nordean’s opposition to the Government’s motion
to vacate. See ECF No. 325 at 4. While Nordean’s opposition included arguments in support of
Nordean’s motion to sever, the motion was filed separately, ECF No 321, and Rehl did not join it,
ECF No. 325 at 4 (citing only ECF No. 320).
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United States v. Philips, 482 F.2d 191, 195 (8th Cir. 1973)); see also United States v. Byrd, 466 F.

Supp. 2d 550, 551 (S.D.N.Y. 2006); ECF No. 328 at 4. But Nordean has not shown that severance

is necessary to preserve those rights, at least at this point. As the Court explained in a separate

order, the Court granted the Government’s motion to vacate the May 18, 2022, trial date not only

because of the joinder of Tarrio and Pezzola, but also to allow the Government to fulfill its dis-

covery obligations. And vacating that trial date was consistent with Nordean’s statutory and con-

stitutional speedy trial rights. The Court has requested that the parties confer as to when they will

be ready and able to try the case and anticipates setting a new trial date promptly upon hearing

from all the parties. In vacating the trial date, the Court does not rule out that, at some point,

severance might be necessary to preserve Nordean’s statutory or constitutional right to a speedy

trial. But not now.

       Second, Nordean argues that Pezzola also should be severed because the admission of his

out-of-court statements could create Confrontation Clause problems under Bruton v. United States,

391 U.S. 123 (1968). But the Government’s “proffer of a co-defendant’s statement that implicates

Bruton . . . ‘does not automatically require severance.’” United States v. Ford, 155 F. Supp. 3d

60, 68 (D.D.C. 2016) (quoting United States v. Brodie, 326 F. Supp. 2d 83, 95 (D.D.C. 2004)).

Bruton only applies “when a co-defendant’s statement expressly implicates the defendant and is

so incriminating that it constitutes an exception to the general proposition that a judge’s limiting

instruction will prevent any improper use of the statement by the jury.” Id. (cleaned up). Even

then, Bruton “is satisfied when the co-defendant’s statement is ‘redacted to eliminate not only the

defendant’s name, but any reference to his or her existence.’” Id. (quoting Richardson v. Marsh,

481 U.S. 200, 211 (1987)). On top of that, “in a conspiracy prosecution, statements satisfying . . .

Federal Rule of Evidence 801(d)(2)(E) may be admitted against co-defendants without violating




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the Confrontation Clause.” Id. (cleaned up). Nordean has identified no specific statement that

raises a Bruton concern, much less shown that any problem could not be ameliorated in some way

short of severance. So at least at this point, he has not shown that severance is required on this

ground.

                                        *       *      *

       For all these reasons, it is hereby ORDERED that Nordean’s motion to sever, ECF No.

321, is DENIED WITHOUT PREJUDICE.



       SO ORDERED.

                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: April 12, 2022




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